                                                        DEPOSITION OF PAM SELLNER TAKEN ON MARCH 20 2015
                                                                          41                                                                         43
              1        Q.    I note that the FCF,      t he Feline                      1    about i t, I guess .
              2    Conservation Federation, can accredit a zoo.                Have     2          Q.      l·lhat about animal care?     Do you regard
              3    you ever asked them to evaluate y our z oo for                       3   AZA as a n authority on animal care?
    (         4    accreditation?                                                       4         A.       They have their own opinions how they
              5        A.    No .                                                       5   like things done.
              6        Q.    Why not?                                                   6         Q.       Your veterinarian testified yesterday
              7        A.    Because there's some r equir ements that I                 7   that he frequently calls AZA-accredited zoos whe n
           8      haven't met.                                                          8   he has questions.
           9           Q.    What are these requirements?                               9         A.       Omaha.
          10           A.    I know one is that you h ave to have an                  10          Q.       Are you comfortable and in support of
          11      extra door on something so when you enter a pen , in                11    t h at effort?
          12      case that animal >IDuld rush the door, they can't                   12          A.    Yes , I am.
          13      get out of the main enclosure , and I don't have                    13          Q.       Do you ever make similar phone calls to
          14      that .                                                              14    AZA-accredited zoos?
          15           Q.    Is that for a ll animal pens?                            15          A.    They don't accept phone calls.         Only from
          16           A.    For cats.   They only wo rry about cats.                 16    veterinarians .         A general person cannot get in
         17       They're not accrediting your whole zoo.                             17    contact with them .
         18            Q.   Any other requirements you can ' t meet?                  18          Q.    Are there any other people who you might
         19            A.   I can't think of one off the top of my                    19    call with those type s of questions?
         20       head right now.                                                     20          A.    There's an Amy Campbell, I believe ,
         21            Q.   So the primary concern is that you don ' t                21    that -- she is a primate veterinarian a t Covance in
         22       have that extra door?                                               22    Madi son, and she will email me and give me pri mate
         23           A.    Right .                                                   23    advice.     She's been there 12 years , at least, as a
         24            Q.   Okay .    Are you accredited by any o ther                24    veterinarian for t hat lab.
         25       professional -- I ' m sorry.      What about the                    25          Q.    And when she emails you, is it

(                                                                         42                                                                         44
           1      Associa t io n o f Zoos and Aquariums?        Are you                1    unsolicited or do you send her a question?
          2       familiar with that organization?                                     2          A.    I asked her a question .
          3           A.    Yes, I am.                                                 3          Q.    Ho1~ many times hav e you conta cted

          4           Q.    And are you accredited by the AZA?                         4    Ms. Campbell?
          5           A.    No .                                                       5          A.    Two or three .
          6           Q.    Have you ever sought accreditation?                        6          Q.    And do you remember the questions you've
          7           A.    I've seen what their rules are and I                       7    as ked her?
          8       don't wish to join them.                                             8          A.    I asked about a cheek pouch , and I'm
          9           Q.    ~lhy not?                                                  9    not -- I don't know if I'm saying i t r i ght.
         10           A.    It ' s basically a s nob c lub .     You've got           10    Sialocel e .     And i t 's a cheek pouch inf lammation .     I
         11       to pay to join it and then you have to go by all                    11    contacted h e r about that.
         12       their regulations and I'd have to pave my driveway                  12          Q,    ~lha t ani ma l s   have you brought i n?
         13       and do other things that I don't intend to do .                     13          A.    Gator and baboon .
         14           Q.    Ho"' much do you have to pay to join it?                  14          Q.    Okay.
         15           A.    I don't know .   I don't know if i t's based              15          A.    I contacted her about neutering a small
         16       on your admissions.     I don ' t know.      I know it's not        16    baboon.     I may have -- I don't know .       I may have
         17       something I plan on doing and I don't look into it.                 17    asked her about anesthesia for a baboon .
         18           Q,    Do you have any opinion about the AZA?                    18          Q,    And after Ms . Campb e ll responded 1·1i th
         19           A.    No.                                                       19    advice, did you treat the baboon with a cheek pouch
         20           Q.    Do you r egard the AZA as an aut h ority on               20    infl ammation ?
         21       zoo administration?                                                 21          A.    She had referred me to some other thi ngs
(        22           A.    Not necessarily .                                         22    online and she gave me some -- not that I know off
         23           Q.    And "'hY not?                                             23    the top of my head where i t was, but I did look it
         24           A.    I don't know .   I j ust -- I don't know all              24    up, and there wasn ' t a whole l ot I could do with i t
         25       t h eir policies and I'm n o t interested in learning               25    at the time.       But i t kind of said why t hey get
                            Case 6:14-cv-02034-JSS Document 45-2 Filed 09/04/15 Page 1 of 4
        11 of 92 sheets                                                   Page 4 1 to 44 of 258
                                                            DEPOSITION OF PAM SELLNER TAKEN ON MARCH 20 2015
                                                                              65                                                                                  67
              1    I studied it har d this summer, but that was the                      1              Q.     Okay .     And I Houldn ' t imagine you ' re
              2    last.                                                                    2    receiving compensation from anyone for your e xpert
              3           Q.    What --                                                  3       tes timony.
    (         4           A.    The USDA ha ndbook.                                      4              A.     No .
              5           Q.    You last revie>~ed it t hi s summe r?                    5              Q.     Are you receiving any - - receiving or
           6              A.    Yes .                                                    6      benefitting from any outs i de h elp from another
              7           Q.    Why did you revie~1 it this summer?                      7      organi z a tion or a nother expert?
           8              A.    Because I was loo k ing up some of t h e                 8              A.     Financially or --
           9      rules and stuff about things when I appeal ed some                     9              Q.     In any 1·1ay.
          10      of my noncompliances.                                                 10              A.     Not unless The Calvary Group d oes
          11              Q.    Are you referring to t he May i nspection               11      something.
          12      and following appea l        letters?                                12               Q.     Okay .     Financially a r e you b enefitting
          13              A.    Yes .                                                  13       from any organization?
          14              Q.    Do you understand the Animal Wel fare Act              14               A.     Not as of this minute .
         15       and Regulations to be minimum requirements?                          15               Q.     Do you expec t      to ?
         16               A.    Yes.                                                   16               A.     I don ' t know.
         17               Q.    So you understand tha t     you ' re free t o go       17               Q.     Do you have any fundraising or legal
         18       above and beyond those requi r eme nts.                              18       de f ense f und , online campa ign s, planned for the
          19            A.     Yes , ma'am.                                            19       fu t ure?
         20             Q,     In what >~ay do you feel like y ou go above             20               A.     Yes .
         21       a n d beyond those requirements?                                     21               Q.     When do you plan to g et tha t going?
         22             A.     I don ' t kno>~ that I said I wen t above and           22               A.     When my Webmaster puts on it .
         23       beyond them .                                                        23               Q.     Oh.      Who ' s your ~/ebmas ter?
         24             Q.     Okay.    Do you fee l you meet t h e minimum            24               A.     My s i ster.
         25       requirements ?                                                       25               Q.     Do you have a si t e where you ' re planning

(
                                                                            66                                                                                    68
           1            A.     Most of the t ime, yes.                                  1       o n post ing that fund-rais ing campaign?
           2            Q.     But you do not go above and beyond the                    2              A.     She's taking care of al l of that .
           3      requirements.                                                          3              Q.     As an expert in this case, what do you
          4             A.     I guess I ' m not -- that's probabl y a --               4       per ceive as your purpose and function?
          5       how high of standards a person has, j u dgmen t , and I               5               A.     Mine?
          6       g u ess I'm n ot s ure about what they'd l i ke.                      6               Q.     (Nods yes.)
          7             Q,     And i n your exper t opinion , do you feel               7               A.     I guess - - I don' t k now .       I don' t know
          8       that you go above and beyond the minimum                              8       the answe r to that .
          9       requir eme nt s?                                                      9               Q.     All right .      We ' ve t alked a litt le bit
         10             A.     On some things .                                        10       about some of your classes that you ' ve taken in
         11             Q.     What things?                                            11       anima l      husbandry .      Do you have any other expe rie nce
         12             A.     I don' t know just righ t off the top of my             12       t hat specif ica lly relates to the tes timony tha t you
         13       head.                                                                13       wil l    give about animal husbandry?
         14             Q.     I can give you a minute to think about                  14               A.    As fa r as what?
         15       it.                                                                  15               Q.    Well,     you ' ve been offered as an expert in
         16             A.     Okay.    I 'm jus t trying to t hink , and I            16       the case , so do you have any - - what traini ng,
         17       don ' t know-- the pressure ' s on.       I can't do it.             17       experience, other coursewo r k, persona l experience,
         18             Q.     We ll , as we go on, maybe you ' l l   think of         18       do you have that you think qual ifies you as an
         19       something.                                                           19       expert i n anima l husband ry?
         20             A.     That would be great.       Let's just keep              20               A.    I ' ve been going to barns since I was nine
         21       going.                                                               21       months old and I have n't missed very many days , and
(        22             Q.     Any other peopl e , publications, a ny ot h er          22       I ' ve taken care of ani mals most of my lif e , farm
         23       things you might have cons ulted in preparation for                  23       animal s and exotic animal s .            I ' ve spent a l most
         24       your expert testimony?                                               24       30 years just do ing exotics in addition to my farm.
         25             A.     No.                                                     25               Q.    So you would rely on your personal

                               Case 6:14-cv-02034-JSS Document 45-2 Filed 09/04/15 Page 2 of 4
        17 of 92 sheets                                                     Page 65 to 68 of 258
                                                        DEPOSITION OF PAM SELLNER TAKEN ON MARCH 20 2015
                                                                       69                                                                           71
         1   experience and your historical relationship with                      1         A.      He's in Arkansas now.        He was here i n
         2   animals.                                                              2   Iowa.
         3          A.    Well, I have people tha t I me ntor with                 3         Q.      And he's still rescuing wo l ves?

(    4       and that' s how I learn , too.                                        4         A.      Yes.
     5              Q.    Okay .    Who are t h ose mentors?                       5         Q,      What about lemurs?
     6              A.    My breeders and other private zoos .                     6         A.      (Nods no.)
     7              Q.    Anyone in s pecific?                                     7         Q.      No?
     8              A.    Nancy Brown, Deb Virchow , Jim Reno .                    8         A.      I guess I should have said Bob Strange
     9              Q.    R-e-n- o?                                                9   for all of those, because he had a zoo .             Bob
    10              A.    Yeah.                                                  10    Strange, just like it sounds.             S-t-r-a- n-g-e .
    11              Q.    Okay.                                                  11          Q.      Ou t of curiosity, do you know his wife ' s
    12              A.    Bob Hudleson.       H-u-d-1 -e-s -o-n, I               12    name?
    13       believe.     That ' s all I can think of right this                 13          A.      I don' t .
    14       second.                                                             14          Q.      I think I might know his wife.           And
    15              Q.    All right.        And I want to talk about             15    servals.
    16       those folks individual l y in a minute, but for now,                16          A.      I don't think so.
    17       let ' s talk about if you have any s pecific                        17          Q,      Okay.     So we've talked about your
    18       experience outside of your personal experience that                 18    personal experience.           You ' ve been working for your
    19       would inform your testimony with respect to the                     19    zoo for 30 years.          Do you have any experience
    20       tige rs.                                                            20    outside of that personal experience t hat would
    21              A.    I guess I'm not sure what y ou're asking               21    inform your expert testimony about captive
    22       me .                                                                22    wildlife?
    23              Q.    ~ormal educat i on,     informal education,            23          A.      No .
    24       courses, expe rience with tigers outside of your own                24          Q,      Transporting captive wildlife?
    25       persona l experience with your animals.                             25          A.      Just what I read in the USDA hand manual .

(                                                                     70                                                                            72
     1              A.   Probably n o t .                                         1    USDA handbook , I s hould say.
     2              Q.   How about lions?                                          2         Q.    What about general zoo administration?
     3              A.   Ju st wha t I've talked about with other                 3          A.      Just what I' ve learned from other private
     4       breeders, bu t it al l pertains to mine because I                    4    zoos .

     5       didn't do l ions a nd tigers before I - -                            5          Q.    And are there any individuals at thos e
     6              Q.   You haven ' t worked at any other zoos?                  6    private zoos that you would consult speci fi cally
     7              A.   No.                                                      7    abou t that?         About zoo administration questions?
     8              Q.   Or observed them in the wild?                            8          A.      Probably Nanc y Brown .
     9              A.   No .                                                     9          Q.   Anyone else?
    10              Q.   Or s t udied them at a u niversity?                     10          A.   No.
    11              A.   No.                                                     11          Q.   Okay.       What about breeding captive
    12              Q.   Or been mentored by a professor who has                 12    wildlife?        Do you have any experience outside your
    13       been studying them at a university?                                 13    own personal experience with breeding captive
    14              A.   Probably not a professor , n o.                         14    1'1ildlife?
    15              Q.   What about wolves?                                      15          A.   No.
    16              A.   I used to go once in a while to a guy ,                 16          Q.   Okay .      Have you ever testified as an
    17       he 's not here anymore, but he had a wolf r escue ,                 17    expert witness before?
    18       and I learned from him .                                            18          A.   No.
    19              Q.   Okay.      What was his name?                           19          Q.   Have you ever provided an exper t opinion
    20              A.   I can ' t tell y ou .    They just called him           20    to someone before?
    21       Harold , the Wolf Man .        That's all I know .                  21          A.   No.

(   22              Q.   Harold?                                                 22          Q.   Have you ever consul ted as an expert with
    23              A.   Yep .                                                   23    someone before?
    24              Q.   Harold ,    th e Wo lf Man .   And he ' s out of        24          A.   No.       Not as an expert .    I mean, we go
    25       business.                                                           25    back and forth , everybody that i s in that business,

                         Case 6:14-cv-02034-JSS Document 45-2 Filed 09/04/15 Page 3 of 4
                                                                      Page 69 to 72 of 258                                                    18 of 92 sheets
                                                        DEPOSITION OF PAM SELLNER TAKEN ON MARCH 20 2015
                                                                          237                                                                            239
     1          Q.         Okay .    Specifi cally wh y do you thi n k t he             1          A.       I don't know.
     2    mi llion- doll ar -- why wo uld the million-dollar                            2          Q.       Earl ier, a t   the beg inning of you r
     3    exhibits be better for the animals?                                           3   depos i tion, if you can recall back that fa r, you

(    4          A.         I   don't think they ' r e better f or the                   4   mentioned that you meet t he minimum requiremen ts of
     5   animals, but I think that the public enjoys the m                              5   the An i mal We l fare Act most o f the time .            Can you
     6   more.                                                                          6   te ll me about t he times when you know you a ren ' t
     7          Q.         Okay.     Do you think there ' s anything                    7   meeting the minimum r equirements?
     8    that ' s better for the animals at t hose big zoos?                           8          A.       There's going to be a random day here and
     9          A.         I am sure they have t h i ngs that animals                   9   there that something isn ' t going to be right , and a
    10   enjoy.       I don't know .                                                  10    lot of that' s just my cleaning schedul e.            Like I
    11          Q.         Ok ay .   But as far as your e xp ert opi nion             11    said, Monday and Tuesdays we have off , those are
    12   is concerned -- as far as you are concerned as an                            12    our major c leaning days , and then we're supposed to
    13   expert , your zoo provides for animals equally well                          13    spot clean t hrough the week and then do major
    14   as a big zoo.                                                                14    cleans , as needed , which I do , and i t's all written
    15          A.         I don't know.                                              15    in my maintenance things.
    16          Q.         Okay.                                                      16           Q.       Okay.     Is there anything else oth er than
    17          A.         I don ' t have the facilities that t hey                   17    the cleaning?
    18   have, but I don ' t think that my animal s are abus ed                       18           A.    About what?        I   forget your question
    19   or unhappy .                                                                 19    already.
    20          Q.     Okay .        I 've got a couple more topics I                 20           Q.    That you might agree ~1here you' re not
    21   want to talk with you about and then we'l l be done .                        21    mee ting the minimum r equirement s of the Animal
    22   Okay?       So ,      first,   I'd like to get your thoughts on              22    Welfa r e Act .
    23   the United States Depa rtment of Agricul ture                                23           A.       I think tha t they were picky about -- on
    24   inspection program .               Do you think they do a good               24    water.      If they see even a greenish tint on the
    25   job?                                                                         25    receptacle itself , despite the fact t hat the


                                                                          238                                                                            240
     1          A.     That's a real good questi o n.         I       think            1    water 's clean and c lear , t h at that's algae, and I
     2   they probably do a good job .              I t hink they're                   2    don't think t hat that's detrimental to a n animal.
     3   overzealous and I              t hink they pick favorites.                    3    I mean , if i t was full of hair algae and t he water
     4          Q.     Do you think it ' s a good idea to have a                       4    was green, t hen , yeah, that's bad .          But that hasn' t
     5   federal i nspe ction p r ogram of 200s?                                       5    always been the c ase .
     6          A.     Yes.                                                            6           Q.   Anything e lse?
     7          Q.     Wh y?                                                           7           A.    I can't think of anything, I guess .
     8          A.     Because I t hink somebody needs to oversee                      8           Q.   You can ' t remember an y more?
     9   things and have a s econd set of eyes.               They've                  9           A.   Not right this minute .
    10   caught things before that I didn't see, and so I                             10           Q.   Okay .       Let ' s ta l k b riefly about the
    11   appreciate that part.                                                        11    USDA ' s enforcemen t -- past enforcement actions
    12       Q.        But there are some parts you don ' t                           12    against you .           I understand you ente red into two
    13   appreciate.                                                                  13    settlemen t agreements with them in the past.                  Is
    14       A.        That's t rue .                                                 14    that right?
    15       Q.        Wh at might those be ?                                         15           A.   Yes.
    16       A.        Like being crazy about f lies.             I   can go          16           Q.   Okay.        What was the firs t one?     What
    17   down to Wal-Mart and see flie s in there , so i t                            17    yea r ?
    18   shouldn't be a s urprise I have a l o t more flies at                        18           A.   I have n o idea.

    19   my f arm and by my animals, despite t he fact that I                         19           Q.   I have it at 2006 .
    20   have fly control.                                                            20           A.   I    was going to say , i t was p robably ten
    21       Q.        Anything els e?                                                21    years ago , so I was close , I guess.

(   22       A.        I       think they get nitpicky about cleaning .               22           Q.   And you agreed to improve the condi tions
    23   And I' m not sayi ng that that 's all bad , but i t just                     23    at the zoo i n a number of ways, a nd you agreed to
    24   gets overboard sometimes, too.                                               24    pay a fine.
    25       Q.        Anything els e?                                                25           A.   Yes.
                       Case 6:14-cv-02034-JSS Document 45-2 Filed 09/04/15 Page 4 of 4
                                                                          Page 237 to 240 of 258                                                  60 of 92 sheets
